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VIA ECF

March 18, 2022

The Honorable Mitchell S. Goldberg
United States District Court
Eastern District of Pennsylvania
601 Market Street
Philadelphia, PA 19106

       Re:     United States of America, ex rel. Sarah Behnke vs. CVS Caremark
               Corporation, et al., CA No. 14-cv-00824

Dear Judge Goldberg:

Plaintiff-Relator (“Relator”) writes, pursuant to the Court’s Policies and Procedures,
because Defendants, CVS Caremark Corporation, Caremark Rx, LLC (F/K/A Caremark Rx,
Inc.), CaremarkPCS Health LLC, and Caremark Part D Services, LLC (“Defendants” or
“Caremark”) have failed to respond to Relator’s emails and requests to meet and confer
relating to certain issues concerning the Amended Rule 30(b)(6) Notice of Deposition
(“Amended Notice”) and failed to provide information it agreed to provide by March 4,
2022.

Rule 30(b)(6) Deposition. The discovery deadline in this case is July 15, 2022. Relator
served an Amended Notice for Rule 30(b)(6) deposition on December 30, 2021. It includes
22 topics. Defendants have not served any objections. The parties had meet and confer calls
about the notice on January 12 and 14, 2022. On March 2, 2022, after numerous requests
(Relator sent emails requesting deposition dates and discussing some of the topics on:
January 4, January 16, January 18, February 1, February 4, and February 11), Defendants
finally provided a designee and deposition date of April 5, 2022 for five of the topics and
identified one other topic to be covered by one of the seven previously-scheduled fact
witness.

Unfortunately, Defendants have otherwise refused to respond to Relator’s requests, on
March 4 and March 11, that Defendants (1) confirm that none of the fact deponents already
scheduled will be designated for any of the remaining 30(b)(6) topics, and (2) provide dates
and designees for the remaining 16 topics. Defendants are long overdue in providing dates
and witnesses for the remaining Rule 30(b)(6) topics and will not respond to emails about
the issues. While Relator has attempted to confer with Defendants in good faith, their
continued delay and failure to respond has frustrated any attempts to resolve these issues
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cooperatively. These discussions are critical because Relator has a limited number of
depositions and a limited time in which to complete discovery. Further, testimony on topics
set forth in the Amended Notice will help Relator determine what additional depositions are
necessary.

While Defendants may not agree with Relator on the timing of the Rule 30(b)(6) deposition,
Defendants cannot dictate whether or not depositions are scheduled by simply ignoring all
requests for dates or even requests to meet and confer. The Court should reject these
litigation tactics. Defendants and their counsel are governed by Rule 1 of the Federal Rules
of Civil Procedure, which emphasizes a lawyer's affirmative duty to resolve disputes
promptly and efficiently. The Rule “highlights the point that lawyers - though representing
adverse parties - have an affirmative duty to work together, and with the court, to achieve
prompt and efficient resolutions of disputes.” Joan Summy Long v. Pennsylvania
State University, No. 1:06-CV 1117, 2016 WL 74767, at *8 (M.D. Pa., Jan. 7, 2016). This
Court has broad discretion to manage its cases. If Defendants are not compelled to engage
with Relator on these issues, Relator will continue to experience prejudice, which could
easily be avoided, just as this request to the Court could have been avoided. See generally
Northstar Fin. Companies, Inc. v. Nocerino, No. CIV.A. 11-5151, 2013 WL 6061349, at *7
(E.D. Pa. Nov. 18, 2013) (examples of prejudice include conduct “that hinder[s] a party's
ability to conduct discovery, develop the factual record, and reach a speedy and fair
resolution to the litigation”).

Missing, Incomplete, and/or Partially Executed Contracts. Relator alerted Defendants
on January 14, 2022 of certain missing, incomplete, and/or partially executed contracts
(“Contracts”), which were listed as an outstanding discovery issue in the joint letter to the
Court dated January 8, 2022. Receiving no response from Defendants, Relator followed up
with an email on January 21, 2022. The parties held a meet and confer call on February 2,
2022, during which Defendants committed to inform Relator, early in the week of February
7, 2022, if they would provide the requested information. Relator did not receive a
response until February 18, 2022, which merely stated Defendants would investigate
whether additional final versions of the Contacts exist and either identify or produce them
by March 4. Relator has not received any further communication on the issue, despite
additional requests on March 8 and March 11, 2022. Not only have Defendants not
provided an update on the investigation into the existence of additional final versions of the
Contracts, they have also chosen to ignore Relator’s repeated attempts to resolve this issue.

Verification of Final Pharmacy Reconciliations. Defendants have employed a similar
stonewalling tactic in response to Relator’s request that they confirm whether all final
reconciliations between Caremark and Rite Aid and between Caremark and Walgreens have
been produced and, if so, to provide bates numbers identifying those reconciliations. This
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is an inquiry which Defendants are uniquely suited to answer and something they had
previously agreed to do. Relator has been attempting to obtain this information from
Defendants since July 9, 2021. This issue was previously before the Court as part of a
motion brought in July 2021. While the Court did not address the issue at the time, Relator
again raised the need to have the final reconciliations identified as an outstanding item in
the parties’ joint letter to the Court on January 18, 2022. Thereafter, Relator sent an email
to Defendants on January 21, 2022, asking for this information. During the parties’
February 2, 2022 meet and confer, Defendants told Relator that they would confirm early in
the week of February 7, 2022 if Defendants would verify if the at-issue reconciliations were
final. Relator contacted Defendants on February 11, 2022, to again request Defendants to
provide the information they had promised to provide. On February 18, 2022, Defendants
expressly agreed that they would identify the final reconciliations for Rite Aid and
Walgreens by March 4, 2022. Defendants failed to deliver on their agreement. Instead,
Relator has been met with complete silence, despite sending follow up communications on
March 8 and March 11, 2022.

The Court has “the equitable power to compel discovery when the relator demonstrates a
substantial and particularized need for it.” United States v. Everglades Coll., Inc., 855 F.3d
1279, 1291 (11th Cir. 2017); United States Spletzer v. Allied Wire & Cable, Inc., No. CV
09-4744, 2015 WL 7014620, at *1 (E.D. Pa. Nov. 12, 2015). “A party is entitled as a
general matter to discovery of any information sought if it appears ‘reasonably calculated to
lead to the discovery of admissible evidence.’” Id. (quoting Fed. R. Civ. P. 26(b)(1)).
Parties’ discovery obligations include timely responses to inquiries from opposing counsel.
Uccardi v. Lazer Spot, Inc., 390 F. Supp. 3d 911, 914 (N.D. Ill. 2019).

Relator has worked diligently and in good faith to resolve the outstanding discovery
disputes and has given Defendants every opportunity to make good on their promises to
provide the information and documents requested by Relator. These documents are crucial
to Relator’s claims. Defendants have repeatedly ignored Relator’s requests, which deprives
Relator of critical discovery, despite previously agreeing to provide this information by
March 4, 2022. Defendants have neither objected to Relator’s inquiries nor offered any
reason for the delay. Given the time constraints Relator has no choice but to ask this Court
to exercise its equitable powers to order the production of the documents and information.

Relator respectfully requests that the Court order Defendants: 1) to immediately designate
witnesses covering all topics in the 30(b)(6) notice and immediately meet and confer with
Relator to schedule their testimony and (2) to produce the documents and information
Defendants agreed to provide by March 4, 2022.
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Respectfully,

/s/ Natalie Finkelman Bennett


Natalie Finkelman Bennett

cc: All counsel via ECF
